            Case 2:16-cr-00327-JCC         Document 57      Filed 08/08/17     Page 1 of 1




                                                    THE HONORABLE JOHN C. COUGHENOUR
 1

 2

 3

 4

 5

 6
                               UNITED STATES DISTRICT COURT
 7
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE

 9          UNITED STATES OF AMERICA,                      CASE NO. CR16-0327-JCC
10                            Plaintiff,                   MINUTE ORDER
11                 v.

12          ZACHARY ENTZ,

13                            Defendant.
14

15          The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17          This matter comes before the Court on the Government’s motion to seal its sentencing
18   memorandum (Dkt. No 52). Given the sensitive information contained in the filing, the Court
19   finds good cause to seal. The motion to seal (Dkt. No 52) is GRANTED. Docket Number 53
20   shall remain SEALED.
21          DATED this 8th day of August 2017.
22                                                       William M. McCool
                                                         Clerk of Court
23

24                                                       s/Paula McNabb
                                                         Deputy Clerk
25

26



     MINUTE ORDER CR16-0327-JCC
     PAGE - 1
